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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

COMMONWEALTH OF MASSACHUSETTS ;
STATE OF CALIFORNIA; STATE OF
MARYLAND; STATE OF WASHINGTON;
STATE OF ARIZONA; STATE OF
COLORADO; STATE OF DELAWARE;
STATE OF HAWAI‘I; STATE OF
MINNESOTA; STATE OF NEVADA;
STATE OF NEW JERSEY; STATE OF
NEW MEXICO; STATE OF NEW YORK;
STATE OF OREGON; STATE OF RHODE
ISLAND; and STATE OF WISCONSIN,

Plaintiffs, CIVIL ACTION NO.

Vv. 25-10814-WGY
ROBERT F. KENNEDY, JR., in his
official capacity as Secretary of
Health and Human Services;

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;

JAYANTA BHATTACHARYA, in his
official capacity as Director of
the National Institutes of Health;
NATIONAL INSTITUTES OF HEALTH;
NATIONAL CANCER INSTITUTE;
NATIONAL EYE INSTITUTE;

NATIONAL HEART, LUNG, AND BLOOD
INSTITUTE; NATIONAL HUMAN GENOME
RESEARCH INSTITUTE; NATIONAL
INSTITUTE ON AGING; NATIONAL
INSTITUTE ON ALCOHOL ABUSE AND
ALCOHOLISM; NATIONAL INSTITUTE

OF ALLERGY AND INFECTIOUS
DISEASES; NATIONAL INSTITUTE OF
ARTHRITIS AND MUSCULOSKELETAL AND
SKIN DISEASES; NATIONAL

INSTITUTE OF BIOMEDICAL IMAGING
AND BIOENGINEERING; EUNICE KENNEDY
SHRIVER NATIONAL INSTITUTE OF
CHILD HEALTH AND HUMAN

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DEVELOPMENT; NATIONAL INSTITUTE )
ON DEAFNESS AND OTHER )
COMMUNICATION DISORDERS; )
NATIONAL INSTITUTE OF DENTAL )
AND CRANIOFACIAL RESEARCH; )
NATIONAL INSTITUTE OF DIABETES )
AND DIGESTIVE AND KIDNEY )
DISEASES; NATIONAL INSTITUTE )
ON DRUG ABUSE; NATIONAL )
INSTITUTE OF ENVIRONMENTAL )
HEALTH SCIENCES; NATIONAL )
INSTITUTE OF GENERAL MEDICAL )
SCIENCES; NATIONAL INSTITUTE OF )
MENTAL HEALTH; NATIONAL INSTITUTE )
ON MINORITY HEALTH AND HEALTH )
DISPARITIES; NATIONAL INSTITUTE )
OF NEUROLOGICAL DISORDERS AND )
STROKE; NATIONAL INSTITUTE OF )
NURSING RESEARCH; NATIONAL LIBRARY )
OF MEDICINE; NATIONAL CENTER FOR )
ADVANCING TRANSLATIONAL SCIENCES;  )
JOHN E. FOGARTY INTERNATIONAL )
CENTER FOR ADVANCED STUDY )
IN THE HEALTH SCIENCES; NATIONAL )
CENTER FOR COMPLEMENTARY AND )
INTEGRATIVE HEALTH; and CENTER )
FOR SCIENTIFIC REVIEW, )

)

)

)

Defendants.

YOUNG, D.J. May 12, 2025
MEMORANDUM AND ORDER
ON SUBJECT MATTER JURISDICTION
For the reasons stated below, after a full hearing and
carefully considering the parties’ submissions and arguments,
the Court rules that it has subject matter jurisdiction over

this action and, as is its duty, exercises that jurisdiction.

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A case management conference is set for Tuesday, May 13,
2025 at 2:00 p.m.
Ir. BACKGROUND

A. Factual Allegations and Relief Sought in the Amended
Complaint

In this civil action, the Commonwealth of Massachusetts
along with 15 other States! (referred to collectively as “the
States”, sue the Secretary of Health & Human Services, the
Director of the National Institutes of Health (“NIH”), and

several of those federal institutes and centers? (referred to

1 In addition to the Commonwealth of Massachusetts, the
State of California, the State of Maryland, the State of
Washington, the State of Arizona, the State of Colorado, the
State of Delaware, the State of Hawai’‘i, the State of Minnesota,
the State of Nevada, the State of New Jersey, the State of New
Mexico; the State of New York, the State of Oregon, the State of
Rhode Island; and the State of Wisconsin join as plaintiffs.

2 Those institutes and centers are: the National Cancer
Institute, the National Eye Institute, the National Heart, Lung,
and Blood Institute, the National Human Genome Research
Institute, the National Institute on Aging, the National
Institute on Alcohol Abuse and Alcoholism, the National
Institute of Allergy and Infectious Diseases, the National
Institute of Arthritis and Musculoskeletal and Skin Diseases,
the National Institute of Biomedical Imaging and Bicengineering,
the Eunice Kennedy Shriver National Institute of Child Health
and Human Development, the National Institute on Deafness and
Other Communication Disorders, the National Institute of Dental
and Craniofacial Research, the National Institute of Diabetes
and Digestive and Kidney Diseases, the National Institute on
Drug Abuse; the National Institute of Environmental Health
Sciences, the National Institute of General Medical Sciences,
the National Institute of Mental Health, the National Institute
on Minority Health and Health Disparities, the National
Institute of Neurological Disorders and Stroke, the National
Institute of Nursing Research, the National Library of Medicine,
the National Center for Advancing Translational Sciences, the

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collectively as “the Public Officials”) because all act through
those persons in their official capacities. Broadly, the States
claim that “[s]Jince his inauguration, . . . the President has
issued a barrage of executive orders prohibiting federal
agencies from supporting any initiatives with a perceived nexus
to certain subjects he opposes, such as ‘DEI’ and ‘gender
ideology’.” Am. Compl. § 4, ECF No. 75. The States allege that
the Public Officials “have adopted a series of directives [(“the
Challenged Directives”)] that curtail NIH’s support for
previously advertised funding opportunities and previously
awarded grants relating to these and other blacklisted topics.”
Id.

The States claim that the Public Officials Challenged
Directives and actions, including grant terminations
(“Terminated Grants”), violate various sections of the
Administrative Procedure Act (Counts 1 - 3, 7), violate the
separation of powers of the three co-equal branches of
government under the Constitution (Count 4), violate the
Constitution’s Spending Clause (Count 5), and constitute ultra
vires Executive Branch action in excess of Constitutional and

statutory authority (Count 6).

John E. Fogarty International Center for Advanced Study in the
Health Sciences, the National Center for Complementary and
Integrative Health, and the Center for Scientific Review.

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The States seek the following relief:3

1. an order under the APA “holding unlawful and setting
aside the Challenged Directives, and any action taken to enforce
or implement the Challenged Directives, on the ground that they
are (a) in excess of statutory jurisdiction, authority, or
limitations, or short of statutory right, and/or otherwise not
in accordance with governing statutes; (b) not in accordance
with governing regulations; and (c) arbitrary and capricious;”

2. a declaration “that the Challenged Directives, and any
action taken to enforce or implement the Challenged Directives,
are unconstitutional because they violate (a) the separation of
powers and (b) the Spending Clause;”

3. issuance of “a preliminary and permanent injunction
barring defendants from carrying out the Challenged Directives
and any actions to enforce or implement the Challenged
Directives, including, without limitation, by directing
defendants to: (a) reissue Notices of Funding Opportunities
(NOFOs) withdrawn based on the Challenged Directives and to
refrain from withdrawing NOFOs based on the Challenged
Directives; (b) refrain from denying grant applications or
renewal applications based on the Challenged Directives; (c)
release reimbursements and other funding for awards that
defendants have refused to pay based on the Challenged
Directives; (d) rescind the termination of the Terminated Grants
and refrain from eliminating funding for awards based on the
Challenged Directives; and (e) promptly reschedule
and conduct all necessary steps in the review and disposition of
plaintiffs’ grant applications, including the Delayed
Applications and Delayed Renewals;”

4. “an order pursuant to under the APA compelling
defendants to undertake: (a) the required unreasonably delayed
and unlawfully withheld activities of NIH’s advisory
councils and study sections, and (b) the required unreasonably
delayed and unlawfully withheld prompt review and issuance of a
final decision on the Delayed Applications and Delayed
Renewals;” and

5. a declaration “that 2 C.F.R. §200.340(a) (2) (2020) and

37 As a sixth request for relief the States seek catch-all,
unspecified “additional relief as interests of justice may
require’

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C.F.R. §200.340(a) (4) (2024) do not independently permit or
authorize termination of awarded grants based on agency
priorities identified after the time of the Federal award.”
Am. Compl. 88-89.

B. Procedural History

On April 14, 2025, the States filed their Amended
Complaint, Am. Compl., and Motion for Preliminary Injunction,
supported by a memorandum of law. Pls.’ Mot. Prelim. Inj., ECF
No. 76; Mem. Law. Supp. Pls.’ Mot. Prelim. Inj. (“Pls.’ Mem.”),
ECF No. 78. The motion is fully briefed. Defs.’ Opp’n Pls.’
Mot. Prelim. Inj. (“Opp’n”), ECF No. 95; Pls.’ Reply Supp. Pls.’
Mot. Prelim. Inj. (“Reply”), ECF No. 101.4

This action was randomly reassigned to this Session of the
Court on May 1, 2025. Elec. Notice Reassignment, ECF No. 99.
The Court rescheduled the hearing on the preliminary injunction
from May 9, 2025 to May 8, 2025. Elec. Notice Hrg., ECF No.
100.

At the hearing, the Public Officials claimed that most of

the case must properly be brought before the Court of Federal

4 The Court also received a submission, ECF No. 86, from
amici: the Association of American Medical Colleges, the American
Association of State Colleges And Universities, the American
Council on Education, the Association of American Universities,
The Association Of Governing Boards of Universities And
Colleges, the Association of Public and Land-Grant Universities,
COGR, and the National Association of Independent Colleges and
Universities. The Court is grateful for this helpful
submission.

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Claims and the remainder was no longer amenable to adjudication.
The Court heard argument on the matter and took it under
advisement. This opinion sets forth this Court’s reasoning.
II. ANALYSIS

A. Standard of Review

“Federal courts .. . are courts of limited jurisdiction.”

Royal Canin U. S. A., Inc. v. Wullschleger, 604 U.S. 22, 26

(2025) (quoting Kokkonen v. Guardian Life Ins. Co. of America,

511 U.S. 375, 377 (1994)). This Court’s jurisdiction is
“[l]imited first by the Constitution,” and also “by statute.”
Id. Through statute, “Congress determines, through its grants
of jurisdiction, which suits those courts can resolve.” Id.
This Court must therefore satisfy itself as to its subject

Matter jurisdiction over an action. Calamar Constr. Services,

Inc. v. Mashpee Wampanoag Village LP, 749 F. Supp. 3d 241, 242-

43 (D. Mass. 2024) (citing McCulloch v. Velez, 364 F.3d 1, 5
{lst Cir. 2004) (“It is black-letter law that a federal court

has an obligation to inquire sua sponte into its own subject

matter jurisdiction.”)); see Fed. R. Civ. P. 12(h) (3) (“TE the
court determines at any time that it lacks subject-matter

jurisdiction, the court must dismiss the action.”). Of course,
“the party invoking the jurisdiction of a federal court carries

the burden of proving its existence.” Murphy v. United States,

45 F.3d 520, 522 (1st Cir. 1995) (quoting Taber Partners, I v.

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Merit Builders, Inc., 987 F.2d 57, 60 (lst Cir. 1993)). Once

jurisdiction is established, however, this Court has a
“‘virtually unflagging obligation’ to exercise federal

jurisdiction.” AUI Partners LLC v. State Energy Partners LLC,

742 F. Supp. 3d 28, 41 (D. Mass. 2024) (quoting Colorado River

Water Conservation Dist. v. U.S., 424 U.S. 800, 817 (1976)).

B. This Court Has Subject Matter Jurisdiction
1. The Tucker Act

Speaking of the Supreme Court, Justice Robert Jackson
famously said, “We are not final because we are infallible, but

we are infallible only because we are final.” Brown v. Allen,

344 U.S. 443, 540 (1953) (Jackson, J., concurring). As always,
the determinations of the Supreme Court matter, only here the
most relevant Supreme Court determination is not final (at least
not yet) -- and therein lies the problem. Because the Supreme
Court, on a 5-4 vote, has seen fit to enter an emergency
interlocutory order in a somewhat similar case, its language
provides guidance in other cases but without full precedential
force.

So it is that this Court, after careful reflection, finds
itself in the somewhat awkward position of agreeing with the
Supreme Court dissenters and considering itself bound by the

still authoritative decision of the Court of Appeals of the

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First Circuit (which decision the Supreme Court modified but did
not vacate). Here is this Court’s analysis:

“The Court of Claims was established, and the Tucker Act
enacted, to open a judicial avenue for certain monetary claims

against the United States.” United States v. Bormes, 568 U.S. 6,

11 (2012). Prior to its enactment, “it was not uncommon for
statutes to impose monetary obligations on the United States
without specifying a means of judicial enforcement.” Id. Thus,
“Congress enacted the Tucker Act to ‘suppl[y] the missing
ingredient for an action against the United States for the
breach of monetary obligations not otherwise judicially

enforceable.’” Maine Community Health Options v. United States,

590 U.S. 296, 323 (2020) (citing Bormes, 568 U.S. at 12).

Under the Tucker Act, “the United States Court of Federal
Claims ... [has] . . . jurisdiction to render judgment upon
any claim against the United States founded either upon the
Constitution, or any Act of Congress or any regulation of an
executive department, or upon any express or implied contract
with the United States, or for liquidated or unliquidated
damages in cases not sounding in tort.” 28 U.S.C. § 1491(a) (1);

Department of Education v. California, 145 S. Ct. 966, 968

(2025) (per curiam) (California II). “In suits seeking more

than $10,000 in damages, the Court of Federal Claims’

jurisdiction is exclusive of the federal district courts.”

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Massachusetts v. Natl. Institutes of Health, --- F. Supp. 3d ---

-, No. 25-CV-10338, 2025 WL 702163, at *4 (D. Mass. Mar. 5,
2025) (Kelley, J.) (citing Burgos v. Milton, 709 F.2d 1, 3 (1st
Cir. 1983)).

“The Supreme Court has made clear that ‘not every claim
invoking the Constitution, a federal statute, or a regulation is

cognizable under the Tucker Act.’” Massachusetts 2025 WL

702163, at *5 (quoting United States v. Mitchell, 463 U.S. 206,

216) (cleaned up). “The fact that a judicial remedy may require
one party to pay money to another is not a sufficient reason to
characterize the relief as ‘money damages.’ ” Bowen v.

Massachusetts, 487 U.S. 879, 893, (1988). Also, “the mere fact

that a court may have to rule on a contract issue does not, by
triggering some mystical metamorphosis, automatically transform
an action ... into one on the contract and deprive the court of
jurisdiction it might otherwise have.” California v. United

States Dept. of Educ., 132 F.4th 92, 96 (1st Cir. 2025)

(“California I”) (quoting Megapulse, Inc. v. Lewis, 672 F.2d

959, 968 (D.C. Cir. 1982)). “The Claims Court does not have the
general equitable powers of a district court to grant
prospective relief.” Bowen, 487 U.S. at 905.

Whether a claim is contractual in nature under the Tucker
Act is based upon a determination of the essence of the action.

“While the First Circuit has not formally adopted the ‘rights

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and remedies’ test that is used by several other circuits, []
courts in this Circuit have adopted the test to determine if the
‘essence’ of an action is truly contractual in nature,”

Massachusetts, 2025 WL 702163, at *6 (D. Mass. Mar. 5, 2025)

(collecting cases); however, it appears the First Circuit is

open to such analysis, see California II, 132 F.4th at 96-97.

“The ‘essence’ of an action encompasses two distinct aspects —-
the source of the rights upon which the plaintiff bases its
claim and the type of relief sought (or appropriate) .”

Massachusetts, 2025 WL 702163, at *5. (citations and quotations

omitted). This Court adopts this test to determine whether the
Tucker Act applies here and concludes that it does not.

The States argue that the essence of the claims here do not
sound in contract because the claims attack the broad policies
and actions of the Public Officials. Pls.’ Mem. 18; Reply 2-4.
The Public Officials counter that the Public Officials merely
“disguise their claims as APA claims. Opp’n. 9.

The Public Officials rely on the recent Supreme Court

determination in California II, which granted an emergency stay

of a district court injunction. In that case, Judge Joun, of
this District, issued a temporary restraining order, enjoining
the Department of Education from terminating certain grants, and
further ordered “the Government to pay out past-due grant

obligations and to continue paying obligations as they

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accrue[d].” Id.; see California v. U.S. Dept. of Educ., No. CV

25-10548-MJJ, 2025 WL 760825 (D. Mass. Mar. 10, 2025) (Joun,
J.).
The government appealed to the First Circuit to stay the

injunction pending appeal. California I. The First Circuit

ruled the Tucker Act did not apply, that the actions were
reviewable under the APA, and that on the merits the Department
of Education had not met its burden to overturn the grant of the
injunction, and therefore a stay pending appeal was not
warranted. Id. at 96.

The Supreme Court accepted the government’s application for
an immediate administrative stay of the injunction, which was

allowed per curiam. California II, 145 S.Ct. at 969.

Construing the ruling as an “appealable preliminary injunction,”
the Court reasoned that the government was “likely to succeed in
showing the District Court lacked jurisdiction to order the
payment of money under the” Administrative Procedure Act,
because “the APA's limited waiver of immunity does not extend to
orders ‘to enforce a contractual obligation to pay money’ along
the lines of what the District Court ordered” there. Id. at 968

(quoting Great-West Life & Annuity Ins. Co. v. Knudson, 534 U.S.

204, 212 (2002). Further, according to the Supreme Court, the

Tucker Act likely applied. Id. The Court granted the stay

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pending resolution of the appeal by the First Circuit. Id. at
969.

Justice Kagan dissented, asserting that it was a “mistake”
to grant the emergency relief, noting among other things that:

The remaining issue is whether this suit, brought
under the Administrative Procedure Act (APA), belongs
in an ordinary district court or the Court of Federal
Claims. As the Court acknowledges, the general rule
is that APA actions go to district courts, even when a
remedial order “may result in the disbursement of
funds.” Ante, at 968 (citing Bowen v. Massachusetts,
487 U.S. 879, 910 (1988)). To support a different
result here, the Court relies exclusively on Great-
West Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204,
122 S.Ct. 708, 151 L.Ed.2d 635 (2002). But Great-West
was not brought under the APA, as the Court took care
to note. See id., at 212, 122 S.Ct. 708
(distinguishing Bowen for that reason). So the
Court's reasoning is at the least under-developed, and
very possibly wrong.

California II, 145 S. Ct. at 969 (Kagan, J. dissenting).

Justice Jackson (with whom Justice Sotomayor joined), also
dissented asserting, among other things, that presuming the
Court could reach the merits, Judge Joun’s assessment that “the
Department's mass grant terminations were probably unlawful is
not unreasonable.” Id. 145 S. Ct. 975 (Jackson, J.,
dissenting). Indeed, the Department of Education’s conduct
could be viewed as arbitrary and capricious under the APA where:

[A] mere two days after the Acting Secretary
instructed agency officials to review the TQP and SEED
grants, the Department started issuing summary grant-

termination letters that provide a general and
disjunctive list of potential grounds for

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cancellation, without specifying which ground led to
the termination of any particular grant. Nor did the
letters detail the Department's decisionmaking with
respect to any individual termination decision. It
also appears that the grant recipients did not receive
any pretermination notice or any opportunity to be
heard, much less a chance to cure, which the
regulations seem to require. See, e.g., 2 C.F.R. §§
200.339, 200.208(c) (permitting grant termination only
after an agency “determines that noncompliance cannot
be remedied by imposing additional conditions,” such
as by “[r]equiring additional project monitoring,” by
requiring that the recipient obtain technical or
management assistance, or by “[e]stablishing
additional prior approvals”).

The Department's robotic rollout of its new mass
grant-termination policy means that grant recipients
and reviewing courts are “compelled to guess at the
theory underlying the agency's action.” SEC v. Chenery
Corp., 332 U.S. 194, 196-197 (1947). Moreover, the
agency's abruptness leaves one wondering whether any
reasoned decisionmaking has occurred with respect to
these terminations at all. These are precisely the
kinds of concerns that the APA's bar on arbitrary-and-
capricious agency decisionmaking was meant to address.
See Prometheus Radio Project, 592 U.S. at 423, 141
$.Ct. 1150 (explaining that the APA requires a
reviewing court to ensure that “the agency ... has
reasonably considered the relevant issues and
reasonably explained the decision”).

It also seems clear that at least one of the
items included on the Department's undifferentiated
laundry list of possible reasons for terminating these
grants -- that the entity may have participated in
unspecified DEI practices -- would not suffice as a
basis for termination under the law as it currently
exists. That is because termination is only
permissible for recipient conduct that is inconsistent
with the terms of the grants and the statutes that
authorize them. But the TQP and SEED statutes
expressly contemplate that grant recipients will train
educators on teaching “diverse populations” in
“traditionally underserved” schools, and on improving
students’ “social, emotional, and physical
development.” 20 U.S.C. §§ 1022e(b) (4), 6672{a) (1),

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1022a(d) (1) (i1).[] It would be manifestly arbitrary
and capricious for the Department to terminate grants
for funding diversity-related programs that the law
expressly requires. Cf£. Motor Vehicle Mfrs. Assn. of
United States, Inc. v. State Farm Mut. Automobile Ins.
Co., 463 U.S. 29, 43 (1983) (explaining that an agency
acts arbitrarily and capriciously if it relies “on
factors which Congress has not intended it to
consider”).

Id. 975-76. That appeal has since been dismissed, the
underlying motion for preliminary injunction has been withdrawn,
and the action is now proceeding in the ordinary course with a
motion to dismiss anticipated in the near future. See Status

Report, California, Civ No. 25-10548-MJJ, ECF No. 93. Ata

status conference on April 9, 2025, Judge Joun indicated that
“the Supreme Court stay was of the TRO. .. [and] .. . the
Court preliminarily weighed in on a couple of issues, but there
[was] no ruling on anything other than granting a stay of the
TRO.” April 9, 2025 Hrg. Tr. 5-6, ECF No. 97.

The Public Officials argue that this Court ought follow the

Supreme Court’s analysis in California II. In fact, at oral

argument they argued California II is virtually

indistinguishable from the instant case.

Not so. California is somewhat different than the claims

presented here. In that case, “[t]heir only claim was to sums

awarded to them in previously awarded discretionary grants.”

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Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *13 (D.C.

Cir. May 3, 2025) (Pillard, J. dissenting).

While the Supreme Court's determination in California II

may be an indicator of how the Supreme Court might someday view
the merits, it is not binding on this Court. As Chief Judge
McConnell of the District of Rhode Island explained mere days
ago facing a similar Tucker Act challenge by the government:

To start, California’s precedential value is
limited ... [and] .. . does not displace governing
law that guides the Court's approach to discerning
whether the States’ claims are essentially contract
claims in order to direct jurisdiction to the Court of
Claims.”)see also Merrill v. Milligan, 142 S. Ct. 879
(2022) (Kavanaugh, J., concurring) (“The principal
dissent's catchy but worn-out rhetoric about the
‘shadow docket’ is similarly off target. The stay
will allow this Court to decide the merits in an
orderly fashion—after full briefing, oral argument,
and our usual extensive internal deliberations—and
ensure that we do not have to decide the merits on the
emergency docket. To reiterate: The Court's stay
order is not a decision on the merits.”).

Rhode Island v. Trump, No. 1:25-CV-128-JdJM-LDA, 2025 WL 1303868,
at *5 (D.R.I. May 6, 2025).

In State of New York v. Trump, 2025 WL 1098966 (D.R.I. Apr.

14, 2025), Chief Judge McConnell has earlier done an extensive
analaysis:

On a surface level, the facts in the California
case may appear to be generally analogous to the facts
here, as both cases involve states challenging federal
agencies’ decision-making regarding appropriated
federal funds, but the similarities end there. When
the Court delves deeper, however, it finds several
significant and relevant differences that underscore

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California's inapplicability to this case. In
California, the First Circuit Court of Appeals
determined that “the terms and conditions of each
individual grant award” were “at issue.” California,
132 F.4th 92, 96-97 (Ist Cir. 2025). On appeal, the
Supreme Court then granted the Department's
application for a stay because it concluded that the
district court issued an order “to enforce a
contractual obligation to pay money” and “the
Government is likely to succeed in showing the
District Court lacked jurisdiction to order the
payment of money under the APA.” California, 2025 WL
1008354, at *1. That is not the case here.

In this case, the terms and conditions of each
individual grant that the States receive from the
Agency Defendants are not at issue. Rather, this case
deals with the Agency Defendants’ implementation of a
broad, categorical freeze on obligated funds pending
determinations on whether it is lawful to end
disbursements of such funds. The categorical funding
freeze was not based on individualized assessments of
any particular grant terms and conditions or
agreements between the Agency Defendants and the
States; it was based on the OMB Directive and the
various Executive Orders that the President issued in
the early days of the administration. Therefore, the
Court's orders addressing the categorical funding
freeze were not enforcing a contractual obligation to
pay money.

Id. That Court also observed that the Court of Claims could not

provide the relief requested. Id. at n.2.
Similarly, Judge Woodcock of the District of Maine recently
wrote,

The Supreme Court's [California] decision to vacate
and stay a district court's TRO enjoining the U.S.
Department of Education from terminating various
education-related grants on the ground that the Tucker
Act provided exclusive jurisdiction to the United
States Court of Federal Claims does not change the
Court's determination that it is a proper forum for
this dispute under the APA... . While bearing
some similarities to the instant suit, the Supreme

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Court issued this decision on its emergency docket,

without full briefing or hearing, id. at ----, 145
S.Ct. at 969 (Kagan, J., diss.); id. at ----, 145
S.Ct. at 969-978 (Jackson, J., joined by Sotomayor,
J., diss.), and its precedential value is thus
limited. See Merrill v. Milligan, --- U.S. ----, 142
S. Ct. 879, 879, --- L.Ed.2d ---- (2022) (Kavanaugh,

J., concurring).

Maine v. U.S. Dept. of Agric., No. 1:25-CV-00131-JAW, 2025

WL 1088946, at *19 (D. Me. Apr. 11, 2025).5 The district courts’

5 But see Massachusetts Fair Hous. Ctr. v. Dep’t of Hous. & Urban
Dev., No. CV 25-30041-RGS, 2025 WL 1225481 (D. Mass. Apr. 14,
2025)) (Stearns, J.):

The court begins, and ends, its analysis with
plaintiffs' second argument (because, if the court
likely lacks jurisdiction, there is no longer any
likelihood of success on the merits -- at least, not
for the purposes of this specific action in this
specific forum -- which moots any inquiry into
irreparable harm). Plaintiffs correctly note that,
unlike the operative complaint here, the Complaint in
California references "the terms of the grant
agreements at issue." Id. What plaintiffs ignore,
however, is that these references occur only in the
context of buttressing the larger APA-based argument
that the Department of Education did not terminate the
grants in accordance with any statutory or regulatory
authorization (the Department of Education simply
cited to 2 C.F.R. § 200.340(a) (4) as authorizing the
termination of the grants); the Complaint itself does
not assert any independent claim based on the language
of the grant agreement. The Supreme Court nonetheless
found that the government was likely to succeed in
showing that the plaintiffs in California sought to
enforce a contractual obligation to pay money.

Because plaintiffs assert essentially the same claim
here -- that the agency did not terminate the grant in
accordance with statutory or regulatory authority --
it follows that plaintiffs are likewise likely seeking
to enforce a contractual obligation to pay money.

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divergent views within the First Circuit of California’s

precedential value is not surprising given the unusual
interventional posture taken by the Supreme Court. Indeed,
Justice Jackson's dissent observed that the Supreme Court’s
“attempt to inject itself into the ongoing litigation by
suggesting new, substantive principles for the District Court to
consider in this case is unorthodox and, in [her] view,

inappropriate.” California II, 145 S. Ct. at 978. Whatever the

Supreme Court’s motivations or intentions, the California II

decision is of little assistance to the district courts in
charting the intersection of the APA and the Tucker Act.

The views of the dissenters in California II, as well as

the fully developed reasoning of the decisions quoted above are
persuasive authority for the course this Court adopts.
Even more compelling is the guidance of the First Circuit

in California I.

This decision should not be read as an endorsement of
the brusque and seemingly insensitive way in which the
terminations were announced nor as casting doubt on
the First Circuit's assessment that the plaintiffs in
the California case may well likely succeed on the
merits of at least some of their claims. The court is
merely deferring (as it must) to the Supreme Court's
unmistakable directive that, for jurisdictional
purposes, the proper forum for this case is the Court
of Federal Claims.

Id. That decision is currently on appeal.

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First, the Department claims that the district
court itself lacked jurisdiction to entertain this
lawsuit, which the Department argues belongs in the
Court of Federal Claims. See 28 U.S.C. § 1491 (a) (1)
(granting jurisdiction to the Court of Federal Claims
for any action against the government “upon any
express or implied contract with the United States”).
The Department points to the fact that each grant
award takes the form of a contract between the
recipient and the government. “But the mere fact that
a court may have to rule on a contract issue does not,
by triggering some mystical metamorphosis,
automatically transform an action ... into one on the
contract and deprive the court of jurisdiction it
might otherwise have.” Megapulse, Inc. v. Lewis, 672
F.2d 959, 968 (D.C. Cir. 1982). Here, although the
terms and conditions of each individual grant award
are at issue, the “essence,” id., of the claims is not
contractual. Rather, the States challenge the
Department's actions as insufficiently explained,
insufficiently reasoned, and otherwise contrary to law
-- arguments derived from the Administrative Procedure
Act (APA), 5 U.S.C. § 706(2) (A). The States' claims
are, at their core, assertions that the Department
acted in violation of federal law -- not its
contracts. Simply put, if the Department breached any
contract, it did so by violating the APA. And if the
Department did not violate the APA, then it breached
no contract. In the words of the Tenth Circuit, “when
a party asserts that the government's breach of
contract is contrary to federal regulations, statutes,
or the Constitution, and when the party seeks relief
other than money damages, the APA's waiver of
sovereign immunity applies and the Tucker Act does not
preclude a federal district court from taking
jurisdiction.” Normandy Apts., Ltd. v. HUD, 554 F.3d
1290, 1300 (10th Cir. 2009); see also Megapulse, 672
F.2d at 968, 970 (upholding a district court's
jurisdiction where “[a]ppellant's position is
ultimately based, not on breach of contract, but on an
alleged governmental infringement of property rights
and violation of the Trade Secrets Act”).

Nor do the States seek damages owed on a contract
or compensation for past wrongs. See Megapulse, 672
F.2d at 968-70 (considering, in a Tucker Act analysis,
“the type of relief sought (or appropriate)”). Rather,

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they want the Department to once again make available
already-appropriated federal funds for existing grant
recipients. And as the Supreme Court has made clear,
“[t]lhe fact that a judicial remedy may require one
party to pay money to another is not a sufficient
reason to characterize the relief as ‘money damages.’
“" Bowen v. Massachusetts, 487 U.S. 879, 893, 108 S.Ct.
2722, 101 L.Ed.2d 749 (1988). As a result, we see no
jurisdictional bar to the district court's TRO on this
basis. See id. at 900-01 (holding that a district
court could hear a claim for an injunction requiring
the government to pay certain Medicaid reimbursements
because it was “a suit seeking to enforce the
statutory mandate itself, which happens to be one for
the payment of money,” and “not a suit seeking money
in compensation for the damage sustained by the
failure of the Federal Government to pay”); Megapulse,
672 F.2d at 970-71 (explaining, in a Tucker Act case,
that “the mere fact that an injunction would require
the same governmental restraint that specific
(non)performance might require in a contract setting
is an insufficient basis to deny a district court the
jurisdiction otherwise available”).

California I, 132 F.4th at 96-97.
In the absence of a decision on the merits from the Supreme
Court, this Court takes to heart the First Circuit’s admonition

that its pronouncements of law bind this Court. United States

v. Moore-Bush, 963 F.3d 29, 37 (1st Cir. 2020) (holding “circuit

court decisions control federal district courts in their

circuits” and that the district court is “absolutely bound to
follow vertical precedents.”), reh'g en banc granted, opinion
vacated, 982 F.3d 50 (1st Cir. 2020), and on reh'g en banc, 36

F.4th 320 (1st Cir. 2022).

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This Court need not gild the lily: California I presented a

closer question than the one before this Court, and the First
Circuit did not hesitate to rule that the Tucker Act did not
apply there. The Court is not free to ignore the First
Circuit’s pronouncement of the law and chart new territory, even
though it might not be the law for long -- either by action of
the First Circuit itself or ultimately the Supreme Court. This

Court follows California I.

Applied here, the “essence” of this action is not one of
contract. This is not an action for monetary damages against
the United States for which the Court of Claims was created.
Rather, at least as alleged, and taking all inferences in the
States’ favor, it is an action to stop the Public Officials from
violating the statutory grant-making architecture created by
Congress, replacing Congress’ mandate with new policies that
directly contradict that mandate, and exercising authority
arbitrarily and capriciously, in violation of federal law and
the Constitution. See Am. Compl. § 93 ("This lawsuit arises
because [the Public Officials] are flouting the statutory and

regulatory rules governing NIH grantmaking” by “adopting a

series of directives that blacklist certain topics -- e.g.,
“DEI,” “gender,” or “vaccine hesitancy” -- that the
Administration disfavors . ..fand by] .. . adopting,

implementing, and enforcing those directives, defendants have

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systematically disrupted the review of pending grant
applications, delayed the annual renewal of already-approved
multi-year awards, and terminated huge tranches of grants in the
middle of the project year. Those disruptions have caused—and
will continue to cause-significant harm to plaintiffs and their
institutions.”). The Tucker Act does not divest this Court of
jurisdiction.

Similarly, the Public Officials’ sovereign immunity claim
falls flat. The Court need look no further than the First
Circuit’s binding guidance again, which, borrowing from the
Tenth Circuit, explains “‘when a party asserts that the
government's breach of contract is contrary to federal
regulations, statutes, or the Constitution, and when the party
seeks relief other than money damages, the APA's waiver of
sovereign immunity applies and the Tucker Act does not preclude

a federal district court from taking jurisdiction.” California

I, 132 F.4th at 97 (quoting Normandy Apts., Ltd. v. HUD, 554

F.3d 1290, 1300 (10th Cir. 2009)). So it is here. Sovereign
immunity is not a bar to the APA challenges.

2. Programmatic attack

Under the APA, a claim is limited to “discrete agency
action that it is required to take,” and that “limitation to
discrete agency action precludes the kind of broad programmatic

attack [the Supreme Court] rejected in Lujan v. National

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Wildlife Federation, 497 U.S. 871 (1990).” Norton v. South Utah

Wilderness All., 542 U.S. 55, 64 (2004).

The Public Officials argue that the States claims
constitute a programmatic attack. Opp’n 13-14. The States
persuasively counter that “[t]he fact that [the Public
Officials] have enforced these directives against hundreds of
projects does not make this lawsuit programmatic, even if it is
large.” Reply.11. The States cite the First Circuit's decision

in New York v. Trump, 133 F.4th 51, 68 (lst Cir. 2025) (“(Wle

are not aware of any supporting authority for the proposition
that the APA bars a plaintiff from challenging a number of
discrete final agency actions all at once.”) and this Court’s

decision in American Association of University Professors v.

Rubio, No. CV 25-10685-WGY, 2025 WL 1235084, at *21 (D. Mass.
Apr. 29, 2025) (describing plaintiffs’ claim as neither a
“constellation of independent decisions or a general drift in
agency priorities.”). The States have the better of it. The
APA claim here is not a prohibited programmatic challenge.

3. Jurisdiction Over Individual Actions

The Public Officials argue that two Challenged Directives
are expired and two did not cause any injuries. Opp’n 15 - 16.
The States concede that while “perhaps the administrative record
will bear this claim out, .. . the current record shows is that

[States] have experienced significant injury from a series of

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overlapping and interlocking blacklisting directives that have
caused unprecedented delays and disruptions. The secretive and
slapdash nature of these directives, which makes it hard to know
which are effective at any given time, is hardly a defense.”
Reply 8. At this stage, all inferences must be taken in favor
of the States, and the States’ argument prevails for now.

As for the remaining Challenged Directives, the Public
Officials argue that they are not final agency actions and
therefore not actionable under the APA. Opp’n 17. The Public
Officials characterize their actions as “merely order[ing] a
review of the grants to determine whether they were consistent
with the agency’s priorities.” Id.

The States argue that this “misstates the directives’
effects.” Reply. 7. As the States persuasively argue, the
Public Officials’ “own [alleged] conduct confirms that the
directives are not ‘interlocutory’: if they were, defendants
would not be implementing them by terminating hundreds of grants
around the country.” Reply 7. Furthermore, the terminations
themselves are final agency action. Id.

On balance, and at this stage, the States have the better
of it.

Cc. Agency Discretion

Finally, the Public Officials argue that the States APA

“claims are unreviewable because they challenge funding

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decisions that are ‘committed to the agency discretion by law.”
Opp. 19 (citing 5 U.S.C. § 701(a) (2). They argue that their
allocation of funds is committed to their sole discretion. Opp.

19-21 (citing Lincoln v. Vigil, 508 U.S. 182 (1993); Milk Train,

Inc. v. Veneman, 310 F.3d 747 (D.C. Cir. 2002).

The States counter that they are not seeking review of a
funding decision, but rather the Public Officials’ “adoption of
enforcement of the overarching Challenged Directives.” Reply 8.
The States point out that Lincoln stands for the unremarkable
proposition that review is precluded so “long as the agency
allocates funds from a lump-sum appropriation to meet
permissible statutory objectives.” Id. (quoting Lincoln, 508
U.S. at 193). Thus, there is arguably review where the
Challenged Directives “conflict with authorizing statutes and
applicable regulations.” Reply 9.

IIIT. CONCLUSION

As alleged, and at its core, the States’ Amended Complaint

alleges conduct similar to what Justice Jackson describes in her

dissent in California II as the “robotic rollout of [a] new mass

grant-termination policy” that has left the States “and
reviewing courts . . . ‘to guess at the theory underlying the

agency’s action.’” California II, 145 S. Ct. at 975-76 (quoting

SEC v. Chenery Corp., 332 U.S. 194, 196-197 (1947)) (Jackson, J.

dissenting). Assuming the allegations of the Amended Complaint

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as true for purposes of the jurisdictional inquiry, the Public
Officials’ alleged “abruptness leaves one wondering whether any
reasoned decision making has occurred with respect to these
terminations at all.” Id. Indeed, this Court agrees in
principle with Justice Jackson that “[t]hese are precisely the
kinds of concerns that the APA's bar on arbitrary-and-capricious
agency decision making was meant to address.” Id. Whether the
States can prove their case -- at summary judgment or a bench
trial -- is for another day and the Court expresses no opinion
on the merits. For now, the Court rules that subject matter
jurisdiction exists in the United States District Court.

A case management conference is set for Tuesday, May 13,

2025 at 2:00 p.m.

SO ORDERED.
Kian &, Gpiry+t,
WILLIAM G.\YO
sce fs
of the
UNITED STATES

‘6 This is how my predecessor, Peleg Sprague (D. Mass 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 47 years.

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